                     Case 20-11814-LMI       Doc 45    Filed 01/11/21    Page 1 of 3
                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


INRE:                                                                  CASE NO.: 20-11814-BKC-LMI
                                                                    PROCEEDING UNDERCHAPTER 13
HENNY CRISTOBOL




                           TRUSTEE'S MOTION TO DISMISS AND
                     CERTIFICATE OF SERVICE OF NOTICE OF HEARING


   COMES NOW Nancy K. Neidich, Standing Chapter 13 Trustee, and files her Motion to Dismiss
pursuant to 11 U.S.C. Section 1307(c) for the reasons set forth below:

   1. Material change prejudicial to creditors in payment terms resulting from unscheduled, unlisted, or
      improperly listed tax or other claims.

   2. The Trustee faxed to the counsel of record a letter requesting the issue be addressed. See attached
      letter with fax confirmation.

   WHEREFORE, the Trustee requests the case be dismissed for failure to address the issue stated therein.


   I CERTIFY that a true and correct copy of the foregoing Trustee's Motion to Dismiss and Notice of
Hearing was mailed to those parties listed below on ~ JI , 2.o 11


                                                           NANCY K. NEIDICH, ESQUIRE
                                                           STANDING CHAPTER 13 TRUSTEE
                                                           P.O. BOX27
                                                           MIRA     , F 330 -


                                                           o   ~~a Mo·  a, Esq.
                                                             (LORI A BAR NO: 0085156
                                                           o Amy Carrington, Esq.
                                                              FLORIDA BAR NO: 101877
                                                          pPJose Ignacio Miceli, Esq.
                                                             FLORIDA BAR NO: 0077539
                Case 20-11814-LMI   Doc 45   Filed 01/11/21   Page 2 of 3
                                         NOTICE OF HEARING AND TRUSTEE'S MOTION TO DISMISS
                                                                 CASE NO.: 20-11814-BKC-LMI

                            CERTIFICATE OF SERVICE

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

By Mail:
DEBTOR
HENNY CRISTOBOL
8200 SW 142 AVE
MIAMI, FL 33183

Via Electronic Service:
ATTORNEY FOR DEBTOR
JOSE P. FUNCIA, ESQUIRE
9555 N KENDALL DRIVE
SUITE 211
MIAMI, FL 33176
                            Case 20-11814-LMI               Doc 45    Filed 01/11/21          Page 3 of 3
12/08/2020 TUE 14:59             FAX 9544434452                                      CII13MIAMI FAX

                                                     *********************
                                                     * **    FAX TX REPORT    * **
                                                     *********************

                                                            TRANSMISSION OK

                                     JOB NO.                              1310
                                     DESTINATION ADDRESS                  13057223656
                                     SUBADDRESS
                                     DESTINATION ID
                                     ST. TIME                             12/08 14:58
                                     TX/RX TIME                           00' 36
                                     PGS.                                 1
                                     RESULT                               OK




        OFFICE OF THE CHAPTER 13 STANDING TRUSTEE
        SOUTHER.'\ DISTRJCT OF FLORIDA
                                                                                     NANCY K NEIDICH, ESQUIRE
                                                                                     STANDING CHAPTER 13 TRUSTEE
                                                                                     P.O. BOX 279806
                                                                                     MIRAMA.R FL 33027-9806
                                                                                     TELEPHOJ\t: (954) 443-4402
                                                                                     FACSIMILE: (954) 443-4452


        December 08, 2020

        JOSE P. FUNCLA. ESQUIRE
        9555 N KENDA.LL DRIVE
        SUITE 211
        IvILA..Ml FL 33176
        Case: 20-11814-BKC-Uvll                               RE: HEJ\'NY CRISTOBOL




        Dear JOSE P. FUNCIA, ESQUIRE


        Iviore than thirty days have passed since the claims bar date on June 12, 2020. You hrm:' failed to file the Notice
        of Compl.iance by Attorney for Debtor required hy Local Rule 2083-l(B) Cluims Review Requirement. also
        know us Local Form 76.

        The scope of the review required staks: ''Not later thnn 21 cbys after expirntion of the clnims bar date, the
        attorney shflll ex:m1ine, from records maintained by the clerk, the claims register and all claims filed in the case
        to detennine whether 8dditional action is necessary, including the filing and servi<Ce in accorcfance with all
        npplicabk rnles of: (a) an amended plan if the phm has not been confirmed; (b) a motion to modif~· the
        confirmed plan: (c) objections to nonconforming claims.'' Local Rule 2083-l(B)(J)

        You must fik a Local Form 76 within twenty (20') days of this letter or the Trustee rnav file u I\.fotion tCJ Dismiss
        this case

        Ve1y tnily yours,



        Claims Administrntor
